                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

  UNITED STATES OF AMERICA                            )
                                                      )       Case No. 1:19-cr-00120
  v.                                                  )
                                                      )       Judge Collier/Steger
  JOE DEWHURST                                        )

                                              ORDER

       I.   Introduction

            Before the Court is the Amended Motion for Release on Bond [Doc. 249] filed on behalf

  of Defendant Joe Dewhurst. Defendant seeks temporary release from custody due to health

  concerns arising from contracting SARS-CoV-2, the virus responsible for the COVID-19

  pandemic. The Government opposes the Motion. Because Defendant has not shown by clear and

  convincing evidence that he is not a flight risk or a danger to the community, the Motion [Doc.

  249] will be DENIED.

   II.      Background

            On August 27, 2019, a grand jury charged Defendant Joe Dewhurst with conspiracy to

  knowingly and intentionally distribute and possess with intent to distribute 50 grams or more of

  methamphetamine (actual) and 500 grams or more of a mixture and substance containing a

  detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21

  U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846 [Doc. 1]. The undersigned held a bond hearing on

  September 4, 2019 [Doc. 29], and entered an Order Setting Conditions of Release on that same

  date [Doc. 31]. Among the conditions of release established by the Court was the following, "[t]he

  defendant must . . . not use or unlawfully possess a narcotic drug or other controlled substances




Case 1:19-cr-00120-CLC-CHS Document 258 Filed 07/22/20 Page 1 of 5 PageID #: 1860
  defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner." While on pretrial

  release, Defendant missed two required drug tests and tested positive for methamphetamine on

  December 13, 2019, and January 28, 2019. Although he clearly violated a critical condition of

  release, the United States Probation Office did not submit a violation report to the Court because

  Defendant was scheduled to be in court for a Change of Plea hearing on January 29, 2020—the

  day after his second failed drug test.

         On January 29, 2020, Defendant appeared before United States District Judge Curtis L.

  Collier and entered a plea of guilty to Count One (lesser included offense) of the Indictment—

  conspiracy to distribute and possess with intent to distribute 5 grams or more of methamphetamine

  (actual) and 50 grams or more of a mixture and substance containing a detectable amount of

  methamphetamine in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B) and 846. Judge Collier

  ordered that Defendant be detained pending sentencing [Doc. 141]. A sentencing hearing is set for

  September 30, 2020. [Doc. 220].

         On July 9, 2020, Defendant filed his Amended Motion for Release from Custody [Doc.

  249], which the Government opposes. Defendant attaches medical records indicating he contracted

  SARS-CoV-2, the virus responsible for the COVID-19 pandemic, while incarcerated at the

  Bradley County jail, and argues that he has received inadequate medical care while incarcerated

  there. Defendant seeks release from the Bradley County jail pending sentencing, and represents

  that he will reside with his mother.

  III.   Analysis

         Defendant is detained pending sentencing, so the applicable release and detention statute

  is 18 U.S.C. § 3143. Subject to limited exceptions, this statute requires the detention of a defendant

  in a case that involves "an offense for which a maximum term of imprisonment of ten years or




Case 1:19-cr-00120-CLC-CHS Document 258 Filed 07/22/20 Page 2 of 5 PageID #: 1861
  more is prescribed in the Controlled Substances Act (21 U.S.C. 801 et seq.) . . . ." 18 U.S.C. §

  3143(a)(2); 18 U.S.C. § 3142(f)(1)(C). The statutory maximum permitted under § 21 U.S.C. §§

  841(a)(1), 841(b)(1)(B) and 846 is 40 years [See Revised Presentence Report, Doc. 207]

         Defendant pled guilty to such an offense and must be detained unless the following

  conditions are met:

         (A)(i) the judicial officer finds there is a substantial likelihood that a motion for
         acquittal or new trial will be granted; or

         (ii) an attorney for the Government has recommended that no sentence of
         imprisonment be imposed on the person; and

         (B) the judicial officer finds by clear and convincing evidence that the person is
         not likely to flee or pose a danger to any other person or the community.

  Id. Defendant does not argue that a motion for acquittal is likely to be granted or that an attorney

  for the Government has recommended no sentence of imprisonment be imposed. Neither of the

  requirements of subparagraph (A) are satisfied, so the Court need not consider subparagraph (B).

  Defendant is not entitled to release on bond under 18 U.S.C. § 3143.

         Defendant has also not met the standard for release in 18 U.S.C. § 3145(c), which deals

  with review and appeal of a detention order. That statute provides:

         A person subject to detention pursuant to section 3143(a)(2) or (b)(2), and who
         meets the conditions of release set forth in section 3143(a)(1) or (b)(1), may be
         ordered released, under appropriate conditions, by the judicial officer, if it is clearly
         shown that there are exceptional reasons why such person's detention would not be
         appropriate.

  18 U.S.C.A. § 3145(c). To qualify for relief, Defendant must therefore: (1) show by clear and

  convincing evidence that he is not likely to flee or pose a danger to the safety of any other person,

  and (2) clearly show that there are exceptional reasons why his detention is not appropriate.

  18 U.S.C. §§ 3143(a)(1), 3145(c).




Case 1:19-cr-00120-CLC-CHS Document 258 Filed 07/22/20 Page 3 of 5 PageID #: 1862
         Defendant has not made this showing. While the undersigned did release Defendant on

  bond subject to an Order Setting Conditions of Release [Doc. 31], he failed to adhere to the

  condition requiring that he comply strictly with drug testing requirements, and also failed to

  comply with the condition prohibiting him from using illegal controlled substances.

         Defendant’s medical condition does not change this assessment, because it does not reduce

  his risk of flight, nor does it reduce the danger he poses to the community. See United States v.

  Adams, 6:19-mj-00087-MK, 2019 WL 3037042 (D. Or. July 10, 2019) (“Release for a

  presumptively dangerous defendant is only appropriate when a defendant produces evidence of an

  extraordinary life-threatening medical condition the BOP cannot treat and further shows the safety

  of the community may be reasonably assured through conditions of release.”). Defendant’s history

  of perseverating in dangerous conduct—even while under the supervision of the United States

  Probation Office—suggests that any conditions the Court may impose are unlikely to deter him

  from engaging in activities that present a risk to any person or the community. Moreover, the

  conditions most likely to effectively control Defendant, such as electronic monitoring and routine

  drug testing, are presently limited or unavailable due to the pandemic.

         Finally, the Court notes that, while Defendant was apparently diagnosed with the SARS-

  CoV-2 virus in mid-June 2020 while incarcerated at the Bradley County Jail, that diagnosis

  occurred approximately one month ago. Defendant did not develop any critical or life-threatening

  conditions as a result of contracting the virus and has seemingly recovered, although he does still

  complain of some mild respiratory symptoms. The Court has instructed the United States Marshal's

  Service to confer with the medical staff at the Bradley County Jail to assure that Defendant receives

  adequate medical care, and has invited Defendant's attorney to let the Court know if Defendant's

  medical care is substandard.




Case 1:19-cr-00120-CLC-CHS Document 258 Filed 07/22/20 Page 4 of 5 PageID #: 1863
   IV.   Conclusion

         Because Defendant failed to show by clear and convincing evidence that he is not a flight

  risk or a danger to others and the community, his Amended Motion for Release on Bond

  [Doc. 249] is DENIED.

         SO ORDERED.


                                              /s/ Christopher H. Steger
                                              UNITED STATES MAGISTRATE JUDGE




Case 1:19-cr-00120-CLC-CHS Document 258 Filed 07/22/20 Page 5 of 5 PageID #: 1864
